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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-1395V


    LORI KATHLEEN OGDEN ERICKSON,
                                                             Chief Special Master Corcoran
                         Petitioner,
    v.                                                       Filed: January 22, 2025


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Douglas Lee Burdette, North Bend, WA, for Petitioner.

Mitchell Jones, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On May 25, 2021, Lori Kathleen Ogden Erickson filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq. 2(the “Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related
to vaccine administration (“SIRVA”) resulting from an influenza (“flu”) vaccine received on
September 15, 2020. Petition at 1; Stipulation, filed February 27, 2024, at ¶¶ 2-4.
Petitioner further alleges that the vaccine was administered in the United States, she had
pain, weakness and impaired movement and function in her left shoulder for a period in
excess of six months after vaccination, and she has never received Compensation in the
form of an award or settlement for her vaccine-related injuries or filed a civil action for her
1Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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injuries prior to this petition. Petition at ¶¶ 3, 6, 8. On February 27, 2024, I issued a
decision awarding compensation to Petitioner based on the parties’ stipulation. ECF No.
37.

       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $14,493.17 (representing $13,223.05 in fees plus $1,270.12 costs). Application for
Attorneys’ Fees and Costs (“Motion”) filed August 26, 2024, ECF No. 42. Furthermore,
Petitioner filed a signed statement representing that Petitioner incurred no personal out-
of-pocket expenses. ECF No. 42-3.

        Respondent reacted to the motion on August 26, 2024, indicating that he is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case but deferring resolution of the amount to be awarded to my discretion. Motion
at 2-4, ECF No. 43. Petitioner did not file a reply.

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates. Furthermore, Petitioner has provided supporting documentation for all
claimed costs. ECF No. 42-2. Respondent offered no specific objection to the rates or
amounts sought. I find the requested costs reasonable and hereby award them in full.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for
attorney’s fees and costs. Petitioner is awarded attorneys’ fees and costs in the total
amount of $14,493.17 (representing $13,223.05 for attorneys’ fees and $1,270.12 in
attorneys’ costs) to be paid through an ACH deposit to petitioner’s counsel’s
IOLTA account for prompt disbursement. In the absence of a timely-filed motion for
review (see Appendix B to the Rules of the Court), the Clerk of Court shall enter judgment
in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
